           EXHIBIT H




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                                                                                                      Electronically Filed - Jackson - Independence - January 07, 2022 - 08:46 AM
              IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                               AT INDEPENDENCE


SHANE COOK, et al.,                                   )
                                                      )
                       Plaintiffs,                    )
                                                      )               Case No. 2116-CV07101
v.                                                    )
                                                      )               Div. 12
FAMILY MOTORS, LLC,                                   )
                                                      )
                       Defendant.                     )

                    DEFENDANT’S MOTION FOR 90-DAY STAY
            OR ENLARGEMENT OF ALL DISCOVERY AND CASE DEADLINES

       Comes now the Defendant, Family Motors, LLC, through its attorney of record, Brenda

Yoakum-Kriz, and makes its motion for a 90-day stay or enlargement of all discovery and case

deadlines, including the January 7, 2022 deadline for Defendant to serve its discovery responses

to Plaintiffs’ First Request for Admissions, First Set of Interrogatories, and First Request for

Production of Documents. The stay is sought to allow Defendant time to locate and retain new

counsel to represent it in this case. In support of its motion, Defendant states as follows:

       1.       Defendant Family Motors, LLC is an entity that must be represented in this case by

a licensed attorney and cannot appear through its members or agents, who are not lawyers.

       2.       On or about December 24, 2021, Plaintiffs, through their counsel Keith Williston,

filed a civil action in the United States District Court for the Western District of Missouri, Case

4:21-cv-903, against Defendant Family Motors, LLC, its owners, and the undersigned counsel of

record (“Federal Action”), alleging that Defendant’s filing of the counterclaim for vehicle storage

fees in this case is the basis for a claim for abuse of process. A copy of the Federal Action

Complaint is attached to this motion as Exhibit 1.




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        3.       On or about December 30, 2021, in response to the undersigned counsel’s email

following up on a prior email regarding a proposed protective order, Plaintiffs’ counsel stated:

“[u]nder the circumstances, you now have a financial interest in this case and a conflict of interests

with your client. I've never seen an attorney try to continue representing their client under these

circumstances as it at least raises the question of whether or not you can do so ethically.” A copy

of this email is attached as Exhibit 2.

        4.       The timing of Plaintiffs’ filing of their complaint in the Federal Action on

December 24, 2021, right before the holiday week between Christmas and New Year’s, while

Plaintiffs’ second motion to dismiss the counterclaim remains pending in this case, and two weeks

before Defendant’s January 7, 2022 extended deadline for serving its discovery requests gives the

strong appearance that Plaintiffs’ filing of the Federal Action was a deliberate, abusive, and tactical

ploy to create a conflict of interest between Defendant and its undersigned counsel of record and

thereby force counsel’s withdrawal from this case.1

        5.       Plaintiffs’ counsel knows that if Defendant’s counsel of record is forced to

withdraw from this case due to the appearance of a conflict of interest that Plaintiffs created by

filing the Federal Action, then Defendant will be prevented from serving its discovery responses

by its January 7, 2022 deadline and will be in default with respect to those discovery requests.

        6.       Plaintiffs’ counsel seeks to unfairly take advantage of Defendant’s requirement that

it must appear through licensed counsel in this case so that Plaintiffs can get the default they have

sought from the beginning of their case. It appears that Plaintiffs realize that they cannot prevail


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  Plaintiffs’ filing of the Federal Action also would force counsel’s withdrawal from another pending
Jackson County, Missouri state court case, Garwood v. Family Motors, LLC, Case No. 2116-CV015348,
which is currently awaiting a ruling on Defendant’s motion to set aside default judgment. Mr. Williston is
not listed as counsel of record for the plaintiff in that case, but has on multiple occasions made references
to that case in pleadings and his emails, thereby suggesting he has some interest or connection to the plaintiff
or plaintiff’s attorney in that case.

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on the merits of their claims in this case and therefore seek to win by playing games and using

abusive, unfair, and prejudicial tactics against Defendant.

       7.       In conjunction with this motion, the undersigned counsel for Defendant is filing a

motion to withdraw from representing Defendant in this case due to the conflict of interest created

by Plaintiffs’ filing of the Federal Action.

       8.       The undersigned counsel’s filing of this motion is permitted by Missouri Rule of

Professional Conduct 4-1.16(d), which permits a lawyer “to take steps to the extent reasonably

practicable to protect a client’s interests” when terminating the client representation.

       9.       To minimize the negative and prejudicial impact of the forced withdrawal of its

counsel of record in this case, Defendant requests that the court stay or enlarge all discovery and

case deadlines and requirements by at least 90 days so that Defendant has time to find and retain

another lawyer to represent it in this case.

       WHEREFORE, Defendant requests the court grant its motion and stay or extend all

discovery and case deadlines for 90 days, until April 7, 2022, including the deadline for Defendant

to serve its discovery response to Plaintiffs’ First Request for Admissions, First Set of

Interrogatories, and First Request for Production of Documents, to allow Defendant time to locate

and retain new counsel in this case, and for such other relief as this court finds just and proper.

Dated: January 7, 2022.                               Respectfully Submitted;

                                                      s/ Brenda Yoakum-Kriz
                                                      Brenda Yoakum-Kriz     MO Bar # 49339
                                                      Empower Law Firm, LLC
                                                      P.O. Box 29216
                                                      Parkville, MO 64152
                                                      Telephone (816) 659-1301
                                                      Fax (816) 891-7978
                                                      Email: Empowerlawfirm@gmail.com

                                                      ATTORNEY FOR DEFENDANT

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 7, 2022, a copy of the foregoing was sent through the
Missouri eFiling system to the registered attorneys of record and to all others by facsimile, hand
delivery, electronic mail or U.S. mail postage prepaid to their last known address.


                                                    s/ Brenda Yoakum-Kriz
                                                    Brenda Yoakum-Kriz




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